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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


BRIAN MOORE,                                     §
                                                 §
               Movant,                           §
                                                 §
V.                                               §    NO. 4:24-CV-758-O
                                                 §    (NO. 4:22-CR-037-O)
UNITED STATES OF AMERICA,                        §
                                                 §
               Respondent.                       §

                                             ORDER

       Movant, Brian Moore, has filed a notice of appeal and motion for leave to proceed in

forma pauperis. Movant represents that prison authorities will not provide a certificate of inmate

trust account without a court order. This is such an order. Movant must file a certificate of

inmate trust account to support his motion within thirty days of the date of this order.

       SO ORDERED on this 7th day of February, 2025.


                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
